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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                  2:03-cr-126-FtM-29DNF


DANIEL MICHEL
_____________________________


                              OPINION AND ORDER

      This matter comes before the Court on a letter (Doc. #216)

filed on January 6, 2006, from defendant Daniel Michel.              The letter

asserts that the attorney appointed to pursue his direct appeal has

not contacted him or done anything with regard to the appeal.               By

Order to Show Cause (Doc. #217) filed January 10, 2006, the Court

directed attorney Richard Creel to appear and show cause why he had

failed to take any steps in connection with the appeal.               Attorney

Creel failed to appear at the January 23, 2006 show cause hearing.

                                     I.

      On November 12, 2003, defendant Daniel Michel (Michel or

defendant),   along    with    others,    was   indicted    on   a   four-count

Indictment (Doc. #35) for conspiracy to possess with intent to

distribute, and knowingly using and carrying a firearm during and

in relation to a drug trafficking crime.             On January 28, 2004,

pursuant to a Plea Agreement (Doc. #90), petitioner pled guilty to

Counts One and Four of the Indictment (Doc. #35).                The plea was

accepted on January 29, 2004.      (See Doc. #102).        On April 26, 2004,
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petitioner was sentenced to an 87 month term of imprisonment on

Count One; a 60 month term of imprisonment on Count Four, to run

consecutively; and to 5 years of supervised release.                         Judgment

(Doc. #164) was entered on April 27, 2004.                     No direct appeal was

filed.

         Defendant filed a Motion to Vacate, Set Aside or, Correct

Sentence Pursuant to 28 U.S.C. 2255 on May 3, 2005.                         (Case No.

2:05-cv-191, Doc. #1). The sole issue was whether petitioner’s

attorney was ineffective for failing to file a Notice of Appeal

when sought by the petitioner.                  The Court had appointed Diane

Muenze    Gonzalez      as   counsel     of     record    on    November    3,   2003.

Petitioner stated by Affidavit that he wrote attorney Gonzalez with

a request that she file a Notice of Appeal, and that she did not

respond to his May 4, 2004, letter.                       Petitioner wrote three

letters, dated April 14, 2005, to: (1) attorney Gonzalez seeking

the status of the appeal; (2) the Clerk of the United States

District Court to obtain a copy of the Notice of Appeal; and (3)

the Clerk of the Eleventh Circuit Court of Appeals to confirm the

status    of    the    appeal     on   their    docket.        Petitioner    attached

responses from the Clerks from the Middle District of Florida and

the Eleventh Circuit Court of Appeals confirming that no such

Notice of Appeal had been filed and no appeal was pending.                         No

response from attorney Gonzalez was attached.

     The government stated that, despite repeated efforts, attorney

Gonzalez       could   not   be    reached      to   rebut      the   statements   by

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petitioner.       The government further stated that it agreed that

petitioner was entitled to an out-of-time appeal based on the

record.

      The Court found that the performance of attorney Gonzalez was

deficient by failing to file the Notice of Appeal when directed to

by her client.       The Court granted Petitioner’s Motion to Vacate,

Set Aside or, Correct Sentence Pursuant to 28 U.S.C. 2255, followed

the procedure outlined in United States v. Phillips, 225 F.3d 1198

(11th Cir. 2000), and resentenced petitioner to allow an out-of-

time appeal. The Court appointed Richard Creel to represent Michel

on direct appeal.      The Amended Judgment (Doc. #212) was entered on

August 1, 2005, and a Second Amended Judgment (Doc. #213) was

entered on August 2, 2005.

                                      II.

      While the docket sheet reflects that Mr. Creel was sent a copy

of the Opinion and Order containing his appointment, he took no

steps with regard to the direct appeal.          On December 2, 2005, the

Magistrate Judge conducted a show cause hearing with counsel, who

stated that he did not receive the original notice of appointment.1

Mr.   Creel    was   directed   to   contact   his   client   Daniel   Michel

immediately, and was cautioned about future non-appearances in

court.      On January 6, 2006, the Court received a letter from Daniel

Michel (Doc. #216) indicating that Mr. Creel had never contacted


      1
          See Case No. 2:05-cv-191-FTM-29DNF docket entries.
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him to process his appeal.          Additionally, the record did not

reflect that counsel had filed a Notice of Appeal.           The Court then

scheduled a show cause hearing for January 23, 2006, but Mr. Creel

failed to appear.

                                    III.

     At the show cause hearing, the government opined that Mr.

Creel has provided ineffective assistance of counsel by failing to

pursue the direct appeal after being appointed.            The Court agrees,

and finds that Mr. Creel’s conduct and lack of conduct constituted

deficient performance which caused prejudice to defendant. The ten

day period for filing a notice of appeal, Fed. R. App. P. Rule

4(b)(1)(A) has expired, as has the extended period allowed under

Fed. R. App. P. Rule 4(b)(4).         The government also stated that

defendant was entitled to the direct appeal, and that defendant had

done nothing to forfeit his right to appeal.               Again, the Court

agrees.   The government did not object to the Court’s liberal

construction of defendant’s January 6, 2006 letter as a motion

under 28 U.S.C. § 2255, or to re-sentencing under Phillips in order

to provide defendant with his right to appeal.

     Accordingly, it is hereby

     ORDERED AND ADJUDGED:

     1.    Defendant’s    January    6,    2006   letter    (Doc.   #216)   is

construed as a Motion to Vacate, Set Aside or, Correct Sentence

Pursuant to 28 U.S.C. 2255 and is GRANTED.


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     2.      The   Clerk   shall   open    a   civil   case   for   statistical

purposes, file defendant’s letter (Doc. #216) as a new § 2255, file

a copy of this Opinion and Order along with a civil judgment

granting the § 2255, and close the civil file.

     3.   The August 2, 2005, Amended Judgment in a Criminal Case

(Doc. #212) and the Second Amended Judgment in a Criminal Case

(Doc. #213) in Case No. 2:03-cr-126-FTM-29DNF are vacated.

     4.   Petitioner Daniel Michel is hereby re-sentenced to the

same sentence as originally imposed in the Judgment in a Criminal

Case (Case No. 2:03-cr-126-FTM-29DNF, Doc. #164), and the Clerk of

the Court shall enter a new Third Amended Judgment in a Criminal

Case imposing the same terms as originally imposed.

     5.    Richard     Creel,      Esq.    is    relieved      of any further

responsibility in this case and shall be terminated as counsel of

record.

     6. The Court finds that Petitioner Daniel Michel was found to

be indigent for the criminal proceedings in Case No. 2:03-cr-126-

FTM-29DNF.    As a result, finding no change in status, Petitioner

Daniel Michel is entitled to “appeal without prepaying costs and

without establishing the right to proceed in forma pauperis.” Fed.

R. App. P. 24-1(b); 28 U.S.C. § 1915.

     7.   The Court further finds that Petitioner Daniel Michel is

still entitled to an appointment of counsel for the belated direct

appeal.   See 18 U.S.C. § 3006A(b).              After entry of the Third


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Amended Judgment, the Clerk of the Court shall appoint an attorney

from the Criminal Justice Act list who has no prior connection with

this case to represent petitioner on the direct appeal in Case No.

2:03-cr-126-FTM-29DNF.       The Clerk of the Court shall provide

counsel with a criminal appeal checklist and update the docket to

reflect counsel of record.

     8. Since it is apparent that defendant desires to appeal, the

Clerk of the Court is directed, pursuant to Fed. R. Crim. P.

32(j)(2), to prepare and file a Notice of Appeal on defendant’s

behalf.

     DONE AND ORDERED at Fort Myers, Florida, this          24th    day of

January, 2006.




Copies:
U.S. Magistrate Judge
AUSA
Daniel Michel
Richard Creel, Esq.
MAGCD
DCCD




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